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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  STATE OF NEW YORK, et al.,

                    Plaintiffs,
                                                         Case No.: 1:20-cv-03589-JEB
               v.

  FACEBOOK, INC.,

                    Defendant.


                 DEFENDANT FACEBOOK, INC.’S MEMORANDUM IN
               RESPONSE TO PLAINTIFFS’ MOTION TO CONSOLIDATE

       Facebook, Inc. (“Facebook”) submits this memorandum in response to the plaintiffs’

Motion to Consolidate this case with Federal Trade Commission v. Facebook, Inc., 1:20-cv-

03590-CRC. ECF No. 45. Facebook does not oppose reassignment to a common judge pursuant

to Local Rule 40.5(c)(2), so that the cases can be managed by a single judge. But Facebook

respectfully submits that actual consolidation of these separate government cases pursuant to

Federal Rule of Civil Procedure 42 is premature and unnecessary at this initial stage of the

proceedings.

                                         BACKGROUND

       On December 9, 2020, the plaintiffs — the State of New York, the District of Columbia,

and forty-six other states and territories (collectively, the “States”) — filed a complaint asserting

claims under § 2 of the Sherman Act and § 7 of the Clayton Act against Facebook. Compl., State

of New York, et al. v. Facebook, Inc., 1:20-cv-03589-JEB, ECF No. 4. That same day, the

Federal Trade Commission (“FTC”) filed a separate complaint raising a Sherman Act § 2 claim

through § 5(a) of the FTC Act. Compl., Federal Trade Comm’n v. Facebook, Inc., 1:20-cv-
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03590-CRC, ECF No. 3. The FTC’s case, which was filed second and has the higher docket

number, is currently assigned to Judge Cooper. Id. at 1.

        During a telephonic meet-and-confer on December 16, 2020, the States and the FTC

notified Facebook that they planned to file a motion seeking consolidation of their two cases “for

all purposes.” On December 18, 2020, the States moved to consolidate the FTC’s higher-

docketed action with this one, pursuant to Federal Rule of Civil Procedure 42(a) and Local Rule

40.5(d). States’ Mem. in Support of Mot. To Consolidate (“States’ Mem.”) at 1, 3, ECF No.

45-1.

                                          DISCUSSION

        Where two cases involve “a common question of law or fact,” district courts have

“substantial discretion” to decide whether and when to consolidate those cases. Hall v. Hall, 138

S. Ct. 1118, 1124, 1131 (2018) (citation omitted). Consolidation may be inappropriate when it

would “not simplify case management or conserve judicial resources,” Singh v. Carter, 185 F.

Supp. 3d 11, 26 (D.D.C. 2016), or any “convenience” is outweighed by “considerations of

confusion and prejudice,” Blasko v. WMATA, 243 F.R.D. 13, 15 (D.D.C. 2007) (citation

omitted). The party requesting consolidation carries the burden of demonstrating that “the

balance weighs in favor of consolidation.” Clayton v. District of Columbia, 36 F. Supp. 3d 91,

94 (D.D.C. 2014) (citation omitted).

        Here, the Court’s discretion should be reserved until after Facebook has answered or

otherwise moved in response to the two distinct complaints from two different sets of

government plaintiffs (forty-eight states and territories joined the States’ complaint, while the

FTC, a federal agency, brought a separate complaint). See Carter, 185 F. Supp. 3d at 25

(different plaintiffs in two actions weighed against consolidation). Certain claims and parties



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may take different paths as early as the Court’s rulings on any motions to dismiss. For instance,

in Reveal Chat — a private antitrust class action against Facebook that the States and FTC have

designated as related 1 — the court granted Facebook’s motion to dismiss private plaintiffs’

Sherman Act § 2 and Clayton Act § 7 claims without prejudice. Reveal Chat Holdco, LLC v.

Facebook, Inc., 471 F. Supp. 3d 981, 987, 989 (N.D. Cal. 2020).

       As it is possible that some claims and parties in these governmental actions may similarly

be dismissed, the prudent course is to decide whether and how to consolidate after resolving any

initial motions filed by Facebook, as courts have often done in similar circumstances. See, e.g.,

Osman v. Weyker, 2016 WL 10402791, at *3 (D. Minn. Nov. 21, 2016) (consolidation was

“premature” because “defendants plan to move for dismissal under Rule 12(b)(6) on several

grounds”); Vickers v. Green Tree Servicing, LLC, 2015 WL 7776880, at *2 (D. Kan. Dec. 2,

2015) (denying consolidation because motions to dismiss had not been “fully briefed,” and it was

thus “too soon to ascertain the claims and parties which may remain in each case once those

motions are resolved”); Wesselman v. United States, 498 F. Supp. 2d 326, 328 n.2 (D.D.C. 2007)

(denying consolidation where dismissal of one case was warranted).

       In addition to the two government cases against Facebook in this District and Reveal

Chat in the Northern District of California, there are six other cases pending in the Northern

District of California. All of the Northern District of California cases involve antitrust claims

against Facebook, and the FTC and States have designated five of them as related to their cases

here. 2 There may be more cases to come. In these circumstances one or more parties in the


       1
        States’ Notice of Related Case, ECF No. 6; FTC’s Notice of Related Case, Federal
Trade Comm’n v. Facebook, Inc., 1:20-cv-03590-CRC, ECF No. 5.
       2
        See States’ Notices of Related Case, ECF Nos. 5, 6, 9, 14, and 56; FTC’s Notices of
Related Case, Federal Trade Comm’n v. Facebook, Inc., 1:20-cv-03590-CRC, ECF Nos. 4, 5,


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various cases may seek transfer under 28 U.S.C. § 1407. Any such motion would be decided by

the Judicial Panel on Multidistrict Litigation, and the States’ case now assigned to this Court

would potentially be subject to such a transfer. See In re Generic Pharms. Pricing Antitrust

Litig., 2017 WL 4582710, at *2 (U.S. J.P.M.L. Aug. 3, 2017) (“[T]he Panel has transferred state

enforcement actions to MDLs involving cases brought by private litigants with some

regularity.”). The potential for transfer is another sound reason to defer consideration of

consolidation. See, e.g., Darby v. U.S. Dep’t of Energy, 231 F. Supp. 2d 274, 278 (D.D.C. 2002)

(leaving “question of consolidation” to “the sound discretion” of the transferee court); John

Mezzalingua Assocs., Inc. v. Arris Int’l, Inc., 2003 WL 23282591, at *1 (W.D. Wis. July 15,

2003) (“[T]he fact that one or both of these cases may be more appropriately decided in another

venue counsels against consolidation at this time.”); Sprint Commc’ns, L.P. v. Cox Commc’ns,

Inc., 2012 WL 1825222, at *1 (D. Kan. May 18, 2012) (denying motion to consolidate without

prejudice because “judicial efficiency is best served by deciding the pending motions to dismiss

and transfer prior to any consolidation”); Ledalite Architectural Prods. v. Focal Point, L.L.C.,

2008 WL 4964733, at *1 (W.D. Wis. Nov. 14, 2008) (declining to consolidate cases before

resolving motions to dismiss and transfer).

       Balanced against these sound reasons to defer consideration of Rule 42 consolidation,

there is no judicial efficiency to be gained from any formal consolidation of these government

cases at this early stage beyond that achieved by having these cases designated as related and

assigned to a single judge pursuant to Local Rule 40.5(c)(2). See Singh v. McConville, 187 F.

Supp. 3d 152, 155 (D.D.C. 2016) (explaining that the related case rule is “separate and distinct



10, 28, and 31. The two Northern District of California cases that the FTC and States have not
designated as related are Dames v. Facebook, Inc., No. 4:20-cv-08817-HSG, and Affilious, Inc. v.
Facebook, Inc., No. 4:20-cv-09217-KAW.

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from” Rule 42 consolidation). In the period preceding Facebook’s date for an initial response to

the complaints (February 8, 2021) in these two government actions, there will be no activities for

which consolidation would promote efficiency. After Facebook files its initial response (an

answer or motion to dismiss) in each action, this Court will easily be able to set parallel case

deadlines, including briefing schedules and hearings, to the extent that doing so serves judicial

economy. See Trump v. Comm. on Ways & Means, U.S. House of Representatives, 391 F. Supp.

3d 93, 97 (D.D.C. 2019). These efficiencies can be achieved without premature consolidation of

the two actions.

                                         CONCLUSION

       Facebook respectfully requests that the Court deny without prejudice the States’ motion

to consolidate under Rule 42 as premature at this time. 3




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         For the stated reasons, Facebook opposes Rule 42 consolidation of these particular
government cases at this preliminary, pre-answer stage of these proceedings. But Facebook
recognizes that consolidation may be appropriate in other circumstances. In the event the Court
is nonetheless inclined to grant the States’ motion now, it should clarify that any consolidation is
“purely ministerial,” and whether consolidation for any other specific purposes, including
discovery or trial, is appropriate will be determined at a later date. Colbert v. F.B.I., 275 F.R.D.
30, 32-33 (D.D.C. 2011) (citation omitted).

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DATED: January 4, 2021                     Respectfully Submitted,


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